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 1 BRUCE LOCKE (#177787)
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 2 555 University Avenue, Suite 170
     Sacramento, CA 95825
 3 (916) 569-0667
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 4 Attorneys for
     ALLEN HARROD
 5
 6                    IN THE UNITED STATES DISTRICT COURT
 7                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8 UNITED STATES OF AMERICA,     )                  No. CR 03-384-WBS
                                 )
 9                Plaintiff,     )                  STIPULATION AND ORDER
                                 )                  CONTINUING THE STATUS
10                               )                  CONFERENCE FROM JULY 2,
        v.                       )                  2007 TO JULY 9, 2007
11                               )
   ALLEN HARROD                  )                  Judge:      William B. Shubb
12                               )                  Date:       July 2, 2007
                                 )                  Time:       8:30 a.m.
13                               )
                  Defendant.     )
14 _______________________________)
15        The defendants, Allen Harrod, Juliette Labrecque , and Michael Labrecque, by
16 and through their attorneys, Bruce Locke, Jan Karowsky, and Caro Marks, and the
17 United States, by and through its attorney, Laurel White, hereby stipulate that the
18 Status Conference currently set for July 2, 2007 should be continued to July 9, 2007
19 at 8:30 a.m., and the parties further stipulate that the time from July 2, 2007 to July 9,
20 2007 should be excluded from the Speedy Trial calculation pursuant to Local Code T4
21 for defense preparation. Bruce Locke will be on vacation the week of July 2, 2007 and
22 Mr. Locke does want to attend this Status Conference because the parties will probably
23 set the date for trial and discuss pre-trial issues at this Status Conference.
24                                          Respectfully submitted,
25
26 DATED: June 25, 2007                           /S/
                                            BRUCE LOCKE
27                                          Attorney for Allen Harrod
28
29                                              1
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 1
     DATED: June 25, 2007                    /S/
 2                                     JAN KAROWSKY
                                       Attorney for Juliette Labrecque
 3
     DATED: June 25, 2007                   /S/
 4                                     CARO MARKS
                                       Attorney for Michael Labrecque
 5
     DATED: June 25, 2007                   /S/
 6                                     LAUREL WHITE
                                       Attorney for the United States
 7
 8
     IT IS SO ORDERED:
 9
10 DATED: June 25, 2007
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